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       CeirtralDisirictof Catifornia
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                                                                      l*--                                                  n Checkif thisis an
                                                                                                                                amendedfiling



 OfficialForm2{11
 Yflf$q                  _fefirlion f<rrHon-lndividuals Filing for Bank                                                    ptcy
 lf more space is nesdsd,attsch a $eparatesheet to this form. On ihe top of any additional pages,write
                                                                                                       the debtor,sname and tho ca$e
 number{if known}' For rnore information,a separatedoc$ment,lnstructions far Ban*ruptcyTormsfar
                                                                                                        Nan-lndividuals,is available.


   't, Debtor'sname
                                              4WayFreight
                                                        Transport
                                                               Inc


  t      All othernamesdrebtorrsed
         in the last I years
         Include
               anyassumednames,
         tradenames.
                   anddoingbusiness
         as names



  il    Debtor'sfederalEmployer              4       7      4    5 5 9 6     3 9
        ldentification
                     Number(E:lN
                               )


  +. Debtor'saddress                         Principalplaceof business                             Mailing address,if diffefentfram principalplace
                                                                                                   oi business
                                             23261 CajalcoRd.#125
                                             Nurnber        Street



                                                                                                   P.0.8ox
                                             Perris                                9257A           Perris
                                             City                                  ZIP Code       Clly                        State     ZIP Code

                                                                                                   Location of principal assets,if differentfrom
                                                                                                   principalplaceof busirrpss
                                         Riverside
                                             C o un t y
                                                                                                              *lre*1




                                                                                                  C,i.:i                                ZIP CoCe



 s. Debtor'swebsite(l.lRL)




{Xlea' Foin 201                                  Vo,untaryPetiti0n_forNon-individuals
                                                                                   Filing{cr Barkruptcy                           page1
        Case 6:23-bk-13805-WJ                               Doc 1 Filed 08/24/23 Entered 08/24/23 15:37:58                                           Desc
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                4WayFreiqht     l'ransport            Inc
                     --- .Y*.*.-*.-.*"*i---...-.".....*
                -.*--.                                                                                 Case numbertrr'":



  o. Type of debtor                              E Corporstion(includingLitlitedLlab;litycompany{LLC)and LimitedLiabi{ityPartnership
                                                                                                                                   {LLp}}
                                                 [J Partn*riship(*clud;ng LLP]
                                                 I ottrer.Specity:

                                                 it. Cltsck gne
  z. Describedeblor's bu*.iness
                                                 iJ HelltnCarellusiness(asdeflnedjn 11 U.S.C.g 101(27A)i
                                                 lJ SingleAssetRealEstate(asdetinedrn j 1 U.S,C S j 0t (5t B))
                                                 :l Railrcac(asdefnedin 1i U S.C g 101(44i)
                                                 ;J Stackbroker
                                                             ias definedin 1t U.S.C.S 10]iS3A))
                                                 O Commcdity Broker(asdefinedin .t1 U,S;C.S 101(6))
                                                 il Ctearing
                                                           Sank{asdefinedin 11 U.SC. g Zet(S))
                                                 ? i\one cf the above
                                                                                                                                                 .   '   i   !   :   .



                                                 B. Che6{ aii thatappty

                                                f,l Tax-exenrnt
                                                             entity{asdescribed
                                                                              in 26 U.S.C S S01)
                                                fl lnvestmentconpany,includinghedgefund or pooledInvestment
                                                                                                          vehicle(as definedin 1s U.S.C.
                                                   S BOs-ti
                                                Il :rrverimentadvisor1asdefinedin j5 U.S.C.g 80b"2(aXr1))


                                                C, NAICS(irlcrthA.rreiicanindustry0lassiflcation   System)4-digitcodeifrutU*utAeurriU**debtor.'See
                                                   lltpiJJ!*s,J,j,r"rs$qil{s.sq1,$$Lrt-disrils6trr{rpl"s}sg*latiQnn_ql_q,$:"p.8de"$
                                                                                                                      .
                                                   4        8   4        1
 s. Under which chapter of the                  Checkone:
    Bankruptcy Code is the
    debtor filing?                              ffi cnapter 7
                                                1-l cnaprer 9
                                                LJ Chapter11. Checkatt thatappty.
    A debtorwhois a "smallbusiness
    Cebtor"mustcheckthe tirst$ubr-                                  il   :he debtoris a smallbusiness      debtoras definedin l1 U.S.C.g 10j{SlD),andits
    box A debtofas definerJin                                            agg'.ega{e   nonconlingenl  liquidaleddebts(excludingdebtsowedto in*idersor
    S 1182(1)whoelectsto proceed                                         aftiliates)ate lessthan $3.02a,725.   lf this sub.boxis selecleri,attachthe rnast
    undersubchapter   V cf chapter11                                     recenlbalancesheel,stalementof operations,        cash-ngwslatemenl.andfederai
    (wlretheror nct the debtoris a                                       incometax^relu1 if any of thesedocumentsdo not exist,follovJthe procedurein
    'smalJ                                                                                     9r
          businessdebtor")must                                           1 1 U . S CS 1 1 1 6 ( 1 X B ) .
    checkthe secondsub-box.
                                                                    I    The debtoris a debtoras definedin 11 U.$.C.g j lBA(1),its aggregare
                                                                         noncontingentliquidated    debts (excludingdebt$owed to 'nsidemoi affiliates)are
                                                                         lesstnan $7,500.000.     and lt chooses ta proc€ed under SubchaptefV of
                                                                         chapter I 1' lf this sub-boxis selected,attachthe mo$treccntbalince sheet.
                                                                         statem€ntoi operations.cash-{lowslatement,and federalincomelax retum, or if
                                                                         any of thesedocumentsdo nol exist,followthe procedurein 1.1U.$.C.
                                                                         s 111 6 { 1 ) { B ) .
                                                                  I      R planis be;ngfiledwiththisperition.

                                                                  fl     Acceplancesaf the plan were solicitedprepelilionfrom one or rnofe classesof
                                                                         creditors,
                                                                                 in accordance $rh 11 U.S.C.S 1126(b),
                                                                  'I     if,e debioris requiredtc file periodicreports example,'l0K and 10e)with the
                                                                                                                      {for
                                                                         $ecuritiesand ExchangeConrmirsionaccordllgto g 13 or 15{d}of the Securities
                                                                         f xcharge Acl o'i 1934'File the Ar€cirnerilo iliruniary Fe iitiiiiror Non-tndividuats
                                                                                                                                                             Fiting
                                                                         {or Eankruprcyunder chapter 11 (officiarFarm 20JA) ouiththis fo*.

                                                                  f,] l he doblct !s a shellcompanyas definedin the SecuritiesExchangeAct ot 1934Rule
                                                                      12h-2
                                               [3 Chaprelt2




O{ficial Far*'r ?31                                VolufitaryPelltionfaf Nan{nriivirJuals
                                                                                        Filingfor Bankruptcy                                    page2
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Debtcl        4WayFreightTransportInc
                                                                                                    Case number pr+.1q1j_


  g. Were prior bankrupteycsses
                                       tuo
     filed by or againstthe clebtor G
     withinthe last B years?        [J Yes. Disrricr-.**.._-*-***_                       .$iir&fi
                                                                                                    .**q"y'ry          Case nunber
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     lf morelhanZ cares,aHach
                            a
     setsrate lisl-                                    *ittr;g
                                                                                                                       Casenumber
                                                                                                    MM/ DDIYYYY

  10.Arc eny brnkruptcycases
     pendingor beingfiled by a
                                        GI No
     businesspartneror an               I    Ye.. D.bro,                                                               Relationship
    affiliateof the debtor?
                                                       District                                                        When
     Listallcases.
                ii mOre
                      than1,                                                                                                         MM I OO /YYYY
     atfacha separate
                    list                               Case number. if xnolvn


 11.Why is the case filed in fhjs       Chackall that appty:
    distric{?
                                        E neffot has had its domicile,principalplaceof business,or principalassetsin lhis
                                                                                                                          districtfor 1g0days
                                          lmmedialelyplecedjngthe dateof this petitionor for a longerpart of sucn 180
                                                                                                                      daysthanin any other
                                          district,

                                        I    A bankruptcycaseconcerning
                                                                      deh{or'safnllale.generalpailner,or partner$hip
                                                                                                                   is p€ndingin this di$trict,

 12.Doeslhe debtorown or have Et ruo
    possessionof any rsal
    propertyor personal property l-l Yes.Answerbelowfor eachpropertytilal needsimmediateatteniion.Auachadditionalsheetsif needed.
   that needsimmediate                   Why does the propertyneed immediateanention? l}heckail thatappty.)
   attefltion?
                                                  fl lt posesor is allegedto posea threalof imminentand identillable
                                                                                                                   hazardto publichealthor safetv
                                                     What is the hazard? *_,'''-''-''.*--.--*_*
                                                                                                                             .          _.-
                                                 l-l lt needsto be physicallysecuredor protectedfrom the weather

                                                 [J lt includesperishable
                                                                        goodsor assetsthai coutdquicklydeterioraleor losevaluewithoul
                                                    attenlion{forexample,livestock,seasonalgoods.meai,dairy,produce,or securities-related
                                                    assetsor otheroptions).

                                                 fl oner


                                                 Whereis theproperty?
                                                                                Numbet         Streel




                                                                                city                                             slate zlP code


                                                 ls the pfopertyinsured?
                                                 Oruo
                                                 f|     Ye*. lnsuraic*agency


                                                                 conladnar'e

                                                                 Phone




           Statistical and sdministrative      infprmatign




Of{icialFornr3tl1                           VolufltaryFetitiont0r Non-!ndjvidua,s
                                                                               Filingfor Bankruptcy                                         page3
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            4WayFreight'l'ranspoil
                               Inc                                                            l:;ase number r,r,r?#l*_




t3, Oebtpr'sestimationof              Gheckone
    availabtefunds                    O Fundswill be availablefcr disiribution
                                                                             to unsecuredcreditors.
                                      il Rtt*, any adminislrativeexpensesare paid, no funds will be availablelor distributiunt0 unsecuredcreditors



    Estimatednumberof
                                      U r<s                                 fl r,ooo-s,ooo                               fl as,oor-so,coo
                                      il so-gs                              fl s,ocr-ro,uoc                              I so,oor-too,ooo
    creditors
                                      I roo-tgs                             fl rc,cor-zoooo                              I    Morethan
                                                                                                                                     100,000
                                      ll zoo-ssg

1s.Estimatedassets
                                      0 so-sso.ooo                          f, $r,ooo,oor-$1
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                                                                                                                                        birion
                                      B $so,oor-$rco,too i-l sro,ooo,ort
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                                                                                             miilion                     I Morethan$5Cbillion

                                      0 $o-sso.ooo        ll $t,ooo,ocr-$10
                                                                         milion                                          fl   $soo.ooo,oo1-$1
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16.Estimated liabilities
                                      Q gso,oor-$roo,coo 3 $to,ooo,oor-$50milrion                                        fl   $r,ooo,oos,oo1-g1o
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                                      Q $roo,oor-$soo,ooo f gso,ooo,oor-$1oo
                                                                           miuion                                        [    $ro,ooo,ooo,oo1-$so
                                                                                                                                                biilion
                                      (l gsoo.oor-$1
                                                 miuion   I $too,coo,oo1-$soo
                                                                            mirion                                       I    Morethan$50billion



           Request for Eeliref, Declaration,      and Signatures


WARNING-      Bankruptcy
                       frauclis a seriouscrime. Makinga falsestalernenlin connectionwith a banhruptcy
                                                                                                    cas€can re$ultin finesup lo
              5500.000
                     or irn[rrisonrnent
                                      for up to 20 years.or both. 18 U.S.C.$$ 152,1341, 1519,and 3571.


tz. Declarationand signatrurre
                            of             The debtorregueslsreliefin accordance
                                                                               withthe chapterof title 1 1, UnitedStatesCode.specifiedin this
    authorizedrepresentati,ue
                            of
    debtor                                 Delition.

                                                              tc filethispelitionon behalfof the debtor.
                                           I havebeenauthorized

                                           I hBVeexaminedtbe information
                                                                       In thispetitionand havea reasonablebeliefthat the information
                                                                                                                                   is true and
                                           correcl


                                      I declareunderpenaltyof perjurythattheforegoingis trueand correcl.

                                           Execured
                                                 on          082412023


                                      lC       yr:"r:'$*                                                 RamiroArellano
                                           Signalure of aulhoiized reprerentalive of debtor              Printedname

                                           ,,,,* Director/Authorized
                                                                  Agent




Cfflcialfory 2{11                          Vo'lntarypetisonfurNon-lndisiduals
                                                                          Filingfor Bankruptcy                                             page,4
         Case 6:23-bk-13805-WJ        Doc 1 Filed 08/24/23 Entered 08/24/23 15:37:58                                       Desc
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i*b:;:
             4WayFreight'fransport
                                lnc
                                                                                 Cege numbtr rr;.,,c



 ls. Signatur€ of atorney
                                                                                            glslf;          0eil24/?033
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                                 ffifegsryD.Angus
                                 Priiled   t:i:nit

                                 Law tlffi*s of GregoryD. Angus
                                 Firmg*r::a

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                                River id*                                                              cA       92506
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                                 (951)781.S$S$                                                  greg@theangusfirm.
                                                                                                                com
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Sficial Fonn tOl                              Petitionfor Non-lndividualsFil'ngtor Bankruptcy                              page 5
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  I
  I UniteO
         StatesBankruptcy
                       Courtf c'rthe: CENTRALDISTR|CTOF CALIFORNTA

      Casenumber(ifknown)

  I
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                                                                                                                             amendedfiling

  OfficialForm206D
  Schedule D: Greditrors Who Have Glaims Secured                                                Properfur                                    12t15
  Be as complete and accurate as possible.
  L Do anycreditorshaveclaimssecuredby debtor,sproperty?
        I No' check this box and submitpage 1 of this form to the courtwith debtor's
                                                                                    other schedules.Deblor has nothingelse to reporton this form
        E Yes. Fill in all of the informationbelow.




official Form 206D                            Schedule D: creditors who Have claims secured by property
                                                                                                                                          page 1 of 1
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                                                                                                                                    Best Case Bankruptcy
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                              4WCyEtglgrytransportInc
        UniteAStatesBankruptcy
                            Courtfcrrthe: CENTRALDtSTR|CTOF CALTFORNIA
    j
        Casenumber(ifknown)
    I
    i
                                                                                                                                                            if this is an
                                                                                                                                                                filing

    OfficialForm206E/Fr
    scheduleE/F:Grer:llitors
                          who Haveunsecuredclaims                                                                                                                        12t15
    Be as complete and accurate as possible. Use Part 1 for creditors wittr pRloRlty                                                                       'Y
                                                                                            unsecured claims and partzfo,                                      uns,ecuredclaims.
    ust the other party to any executory {}ontractsor unexpired leases that could result in
                                                                                                  a claim. Also list executory"rffiiliiiftiifrii
                                                                                                                              contracts on schedu/e         : Assefs - Real and
    Personal Property(otticial Form 206/lvB) and on schedu/e G: Executory contracts
                                                                                              aid llnexpired Leases (official Form 206G). Numbertt        entries in Parts 1 and
    2 in the boxes on the left. lf more spar;s is needed for Part 1 or Part 2, fiil out
                                                                                        and attach the Additional page of that part included in this f(

    EEEItr          List All creditorswith pRlORtTyUnsecuredctaims
          1. Do any creditors have priority,unsecuredclaims? (See 11 U.S.C.g 507).

             E No. co to part 2.

             I     Y e s .G o t o l i n e2 .

          2' List in alphabeticalorder all creditors who have unsecured claims that
                                                                                       are entifled to priority in whole or in part, lf the debtorhas        than i] creditors
             with priorityunsecuredcraims,fiilout and attachthe Additionarpage of part 1.

                                                                                                                                         Total claim         Priority amount

 E]              Prioritycreditor'sname and maitingaddress        As of the petitionfllingdate,the claim is:
                                                                                                                                                  U             $0.00
                 Employment Developrnent                          Check all that apply.
                 Department                                       E Contingent
                 BankruptcyGroupMl(;92E                           I   Unliquidated
                 PO Box 826880
                                                                  E Disputed
                 Sacramento,CA 9428()
                 Date or dates debt was incurrerd                 Basisfor the claim:
                 Unknown                                          Possible Unknown fees owned
                 Last4 digitsof accountnumber5090                 ls the claim subjectto offset?
                 SpecifyCodesubsectionof pF,llORlTy               lruo
                 unsecuredclaim:11 U.S.C.S l;07(a)(9)
                                                                  E yes

liEllll     List Ail C."ditor"*ith il{ONpRtORtTy        UnsecuredCtaims
      3. Listin alphabeiiciGrdJ;l,:,fth"               withn""p.i"rityu*;*                          lne OeUto,
         out and attachthe Additionalpage of "r;dit..s
                                             part 2.
                                                                                                            nasmoretnan6 crediGrs
                                                                                                                               wiih                                 claims,fill
                                                                                                                                   ""rfi"rity
                                                                                                                                                                  of claim

    31       Nonpriority creditor,s name and mailing address
i                                                                              As of the petition filing date, the claim is: checkalt thatappty
             Bank of America
                                                                                                                                                                 $23,520,86
                                                                               E Contingent
             PO Box 25118
                                                                               I   Unliouidated
             T a m p a ,F L 3 3 6 2 2 - 5 1 1 8
                                                                               E Disouted
             Date(s)debt was incurred _
             Last 4 digits of account numtLer 9805
                                                                               Basis
                                                                                   forthectaim:CorporationGredit Gard Charges
                                                                               ls the claim subject to offset? I   No E yes

)3 2        | Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: check ail thatappty
             CMA CGMAAmerica Lll-G                                                                                                                               [U,4?g4g
                                                                               EI Contingent
             5701 Lake Wright Driver
                                                                               I Unliquidated
             Norfolk, VA 23502
                                                                               E Disputed
             Date(s)
                  debtwasincurred3/,22
             Last 4 digits of account numher FWWN
                                                                              Basisfor theclaim: LeaSing FeeS

                                                                              ls theclaimsubjectto offset? I       No E yes




official Form 206E/F
                                                     schedule E/F: creditors who Have unsecured claims
                                                                                                                                                                     page 1 of 4
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                                                                                             40227                                                           BestCaseBankruptcy
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                                                                         Main Document    Page 8 of 19
      Debtor 4Way Freight Tran-$portInc                                                                               Casenumber(rrnown)
                   Name


  | 3.3     ] Nonpriority creditor,s name and mailing address                        As of the petition filing date, the claim is: checkail thatappty
                                                                                                                                                                        $22,285.00
              CoscoShippingLinesiCo                                                      E Contingent
              9659N. SamHoustonparkwayEast
                                                                                         I    Unliquidated
              Suite150#240
              Humble,TX 77396                                                        fl Disputed

              Date(s) debt was incurred ':|'122                                      B a s i sf o r t h e c t a i m : L e . a s i n g F e e s

              Last 4 digits of account nun,rber FVVWN                                ls the claim subjecrto offset? I               No E yes

 i 3.4 * l Nonpriority creditor,s name and mailing address                           As of the petition filing date, the claim is: check ail thatappty.
                                                                                                                                                                        $25,265.00
             CU Lines                                                                E Contingent
             C/ONortonLilty
                                                                                     I Unliquidated
             OneSt LouisGentreSiuite5000
             Mobile,AL 36602                                                         E Disputed

             Date(s)debtwasincurreO3l;/22                                            Basisfor the claim: Leasinq Fees
             Last4 digitsof accountnumber FWWN                                       ls theclaimsubject
                                                                                                      to offset?f                   No E yes
  3.5       i Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: checkail thatappty.
             DirectChasislinkslnc                                                    E Contingent
             3525 Whitehall park DrrSte 400
                                                                                     I       Unliouidated
             Gharlotte, NC 2BZ73 -4i:,27
                                      9
                                                                                     E Disputed
             Date(s)debt was incurred 3i/22
                                                                                     Basis for the ctaim: Leasinq                   Fees
             Last 4 digits of account number FWWN
                                                                                                        I NoE v".
                                                                                                   offsel?
                                                                                     l.l" "111'lou:1o
 Eq-r-. I Nonpriority
                    creditor,snameiirndmailingaddress                            As of the petitionfilingOate,tne                          ,"-rr*     jr",
                                                                                                                                                    att
          Emodal.Com LLC                                                                                                             "fuirn                  "rr,
                                                                                 E Contingent
             2101BusinessCenterDr Ste200
                                                                                 I Unliquidated
             lrvine,CA 92612
                                                                                 E Disouted
             Date(s)debtwasincurred 3/22
                                                                                 Basisfor thectaim:Leasing Fees
             Last4 digitsof accountnumher FWWN
                                                                                 ls theclaimsubject
                                                                                                  to offset?I                      No E yes

 P.?      ,l Nonpriority creditor,s name and mailing address                     As of the petitionfilingdate,the claimis: Check
                                                                                                                               altthat
                                                                                                                                     appty.
            lvergreenShippingAgencyAmerCorp                                      E Contingent
            6021KatellaAve Suite200
                                                                                 I Unliquidated
            Cypress,CA 90630
                                                                                 E Disouted
            Date(s)debt was incurred 3/22
                                                                                 Basisfor the ctaim: Leasing Fees
            Last 4 digits of account numUler 0046
                                                                                 ls the claimsubjectto offset? I                   No E yes

F.8        I Nonpriority creditor,s name arndmailing address                     As of the petitionfilingdate,the claimis: Check
                                                                                                                               attthat
                                                                                                                                     apply                             $78,995.80
            Flexi-VanLeasing LLC                                                 E Contingent
            7320 E. Butherus Dr. Ste 201
                                                                                 f Unliquidated
            Scottsdale, AZ 85260
                                                                                 E Disouted
            Date(s)debt was incurred 3ir22
                                                                                 Basisfor the ctaim:Leasinq Fees
            Last 4 digits of account number 63LA
                                                                                 ls theclaimsubject
                                                                                                  lo offset?f                      ruo E y""

tr]         Nonpriority creditor.s   nameandmaiting
                                                  address                        As of the petitionfilingdate,the claimis: Check
                                                                                                                              ailthat
                                                                                                                                    apply                               Unknown
            Hapag-LloydAmerica l-LC                                              E Contingent
            5 5 1 5S p a l d i n gD r
                                                                                 I           Unliouidated
            PeachtreeCorners, GA,30092
                                                                                 E Disputed
            Date(s)debtwasincurred3/22
            L a s t 4 d i g i t s o f a c c o u n tn u m h e r 6 1 9 6
                                                                                 Basisfor the claim: Leasing Fees

                                                                                 ls theclaimsubjectto offset?I                    No E yes




Official Form 206 E/F
                                                   Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                                          Page 2 of 4
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                                                                             Main Document    Page 9 of 19
        Debtor 4Way Freight Transiport
                                       Inc                                                                                      Case number (irrnown)
                     N;*:


   I 3.10       i Nonpriority creditor,s name and mailing address                                 As of the petitionfilingdate,the claimis: Check
                 H M MI n c                                                                                                                    attthatappty                  $4,990.00
                                                                                                  E Contingent
                 222West Las Colinas t3lvd Suite 700
                 lrving, TX 75039                                                                 fUnliquidated
                                                                                                 E Disouted
                Date(s) debt was incurred 3,122
                Last 4 digits of account number FWWN                                             Basisfor the ctaim: Leasing Fees

                                                                                                 ls the claimsubjectto offset? I             No E yes

   [a           Nonpriority creditor's name and mailing address
            J                                                                                    As of the petition filing date, the claim is: checkatt thatappty.
                MargaritaGuzman Rarnos                                                                                                                                       Unknown
                                                                                                 E Contingent
                1 3 1 1 8C h e r r y g l a d eC t
                                                                                                 E Unliquidated
                Houston,TX77044
                                                                                                 E Disputed
                Date(s)debt was incurred UllknOWn
                                                                                                 Basis forthe ctaim: Possible                fees owed
                Last 4 digits of account numlber Unknown
                                                                                                 ls the claim subject to offset? I          No E yes

  i3l-          Nonpriority creditor,s name arndmailing address
                                                                                                 As of the petitionfilingdate,the claimis: Check
                                                                                                                                               attthat
                                                                                                                                                    appty
                MediterranianShipping Co USA lnc                                                                                                                         $n45,555.00
                                                                                                 E Contingent
                700 Watermark Blvd
                Mount Pleasant,SC 294.64                                                         f Unliquidated
                                                                                                 E Disouted
                Date(s)debt was incurred 3/22
                Last 4 digits of account numt,er FV\MN                                        Basisfor the ctaim: Leasinq Fees
                                                                                             Is theclaimsubjectto offset? I                 No E y..

  t9_13__] Nonpriority creditor's name and mailing address                                   As of the petitionfilingdate,the claimis: check
                                                                                                                                           ailthat
                                                                                                                                                 appty                    $10,685.00
             OneLineNorthAmericalnc                                                          E Contingent
             MetroGroupof Newyonk
             49 W. Mountpleasantl\ve. Box 2371                                               I Unliquidated
             Livingston,
                       NJ 07039.9199g                                                        E Disputed
             Date(s)debt was incurred 3/j22                                                  Basisfor theclaim;Leasing Fees
             Last 4 digits of account number 8675                                            ls theclaimsubjectto offset? I                No E yes

 i 3.14     ] Nonpriority creditor.s name and maiting address                                As of the petition filing date, the claim is: checkail thatappty.
             Sealand                                                                                                                                                      $10,735.00
                                                                                             E Contingent
             Nodon Lilly tnternationallnc
                                                                                             I        Unliquidated
             One St Louis CentreSuite 5000
             Mobile,AL 36602                                                                 E Disouted

             Date(s)
                  debtwasincurred3/ll2                                                       B a s i sf o r t h e c t a i m : L e a S i n g F e e s

             Last 4 digits of account number FWWN                                         ls the claimsubjectto offset? I                  ruo D V".

 t r s I Nonpriority creditofs name and mailing address                                  As of the petitionfilingdate,the claimis: check
                                                                                                                                       ailthat
                                                                                                                                             appty.
            Trac lntermodalChassi:s
                                                                                         E Coniingent
                                                                                                                                                                       $l48,qqq.2o
            750 CollegeRoad East
                                                                                         I Unliouidated
            Princeton,NJ 08540
                                                                                         E Disputed
            Date(s)debt was incurreO 3/2!2
            L a s t 4 d i g i t s o f a c c o u n tn u m b e r 7 1 1 5                   Basisfor theclaim: LeaSinq Fees

                                                                                         ls theclaimsubject
                                                                                                          to offset?I                     No E yes

] 3.16    I Nonpriority creditor.s name and mailing address                              As of the petition filing date, the claim is: checkallthatappty
            Wan-Hai Lines USA LTDr                                                                                                                                        Unknown
                                                                                         E Contingent
            17200N perimeterDr Sr"rflte
                                     200
            Scottsdale,AZ BS2Ss                                                          I        Unliouidated
                                                                                         E Disouted
            Date(s)debt was incurred 3/22
            L a s t 4 d i g i t s o f a c c o u n tn u m O e r 1 6 0 N                   Basis for the claim: Leasing                    Fees

                                                                                         ls the claim subject to offset? I               No E yes




Offlcial Form 206 E/F
                                                                         Schedule E/F: Creditors Who Have Unsecured Claims
SoftwareCopyright(c) 1996-201SBest Case,                                                                                                                                    Page 3 of 4
                                                    LLC _ www.bestcase.com
                                                                                                                                                                     Best Case Bankruptcy
              Case 6:23-bk-13805-WJ                             Doc 1 Filed 08/24/23 Entered 08/24/23 15:37:58                                         Desc
                                                                Main Document    Page 10 of 19
  Debtor lW"y FreightTransportInc                                                                    Case number(irrnown)
               Name

 iT"      I Nonpriority creditor,s name and mailing address                 As of the petition filing date, the claim is: Check ail that appty.
                                                                                                                                                                 $8s0.00
           Yang Ming 4r";16q Oorp                                            E Contingent
           3250 BriarparkDrive t$uite201
                                                                             I Unliquioated
           Houston,TX77042
                                                                             E Disputed
           Date(s)
                debtwasincurreo,342
                                                                            Basisfor the ctaim: Leasing Fees
           Last 4 digits of account nunnber FWWN
                                                                            ls theclaimsubjectto offset? E No I          y""


 liEl?Ef       tist Othersto Be NotifiedAbout UnsecuredClaims

 4' List in alphabeticalorder any othenswho must be notified for claims listed in Parts 'l and 2.
                                                                                                  Examplesof entitiesthat may be listedare              agencres,
    assigneesof claimslistedabove,and attorneysfor unsecuredcreditors.

    If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page.
                                                                                                                    lf additional pages are needed,    the next page.
           Name and mailing address                                                                 On whichline in Partl or Part2 is the               4 digits,of
                                                                                                    relatedcreditor(if any)listed?                       nt number. if
  4.1      Bank of America
           Attn Bankruptcy Depaftment                                                               Line 3.1                                          9805
           475 Cross Point Pkwy'pO Box 9000
           Getzville,NY 14068-9000                                                                  tr    Notlisted.Exptain
                                                                                                                          _

  4.2      Employment  Development Department
           Attn Elizabeth
                        SantaGruz                                                                   Line 2.1
           658E. BrierDrive,Suite300
           SanBernardino, GA92408                                                                   tr    Notlisted.Explain

 4.3       EmploymentDeveloprnentDepartment
           ln Re MargaritaGuzman Ramos                                                             Line 2..1
           658 E. Brier Drive,Suite 300
           San Bernardino,GA 92408                                                                  tr    Notlisted.Explain

 4.4       Louis Jacobs Esq
           ln Re: Direct Chassislinkslnc                                                           Ltne   3.5
           11693San Vicente Blv'dSuite 400
           Los Angeles,CA 90049                                                                     tr    Not listed.Explain

 4.5       Margarita Guzman Ranros
           2750W Acacia #G5                                                                        Line   3.11
           Hemet, CA 92545
                                                                                                   tr Not listed.Explain
 4-O      MetroGroupof NewYork
          49 W. MountPleasantAve Eox 2371                                                          L i n e3 . 1 3
          Livingston,
                    NJ 07939-9998
                                                                                                   tr     Notlisted.
                                                                                                                  Exptain
 4.7      Ocean Network Express NA Inc
          8730Stony Point Parkway                                                                  Line 3.1?
          Richmond,VA23235
                                                                                                   D      Notlisted.Exptain


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                                                              qqlr1s
5, Add the amounts of priority and nonpriority unsecured claims.

 5a. Total claims from part 1                                                                                  s,iia;-=-=-**iiiils,?&J#ii
                                                                                                                                     $udt3
 5b. Total claims from part 2
                                                                                                                                         772,500.8
 5c. Total of Parts 1 and 2
     Lines5a + 5b = 5c.                                                                                                                     772,




OfficialForm 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                               Page 4 of 4
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  Attorney
        or FaftyName,
                   Address,      & FAxNoa,' soncounrusEor.[t
                         fetephone
  $tateBarNo.& EmailAdrlress
  GregoryD,Angus
  68?5Magnolia  Ave.,SteG
  Riverside,CAS2506
  {951} 781-6555Fax:{951} tB1-6sF0
  Califomia$tate Bar Number:z1g32vcA
  greg@thea
         ngusfirm.com




 tr DebforfsJappearingwithautan attorney
 I Attarneyfar Debtar


                                                 UNITEDSTATESBANKRUPTCY COURT
                                                  CENTRALDISTRICT
                                                                OF CALIFORNIA

 ln re
           4WayFreightTransportlnc                                     CASENO :
                                                                       CHAPTER. 7




                                                                                     VF:RIFICATIONOF MAST
                                                                                    MAilLINGLI$T OF CREDITO

                                                                                               ILBR 1007-1{a}l

                                                           Debto(s)

Pursuantto LBR1007-1(a),  theDebtor,  or theDebtor's
                                                  attorncy
                                                         if applicable,     underpenalty
                                                                    ceftifies           of perjr thatthe
rnaster
      mailinglistof creditors
                            filedin thisbankruptcy
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 Date
                                                                           Signature
                                                                                   of Debtor       debtor)) (if               icable)
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 Date.August?4,2023                                                                     al**^@**\
                                                                           wm;;;;"WM(jrapp




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                   Bank of America
                   P OB o x 2 5 I I B
                   Tampa, FL 33622-5118


                   Bank of America
                   A J _| n    R: n k rrrnl_ nr.z Tlarr: rf                      man t
                   4 7 5 C r o s s P o i n t . P k w y P OB o x 9 0 0 0
                   Getzville, NY 14058-9000


                   CMA CGMAAmerica LLC
                   5701 Lake Wright Drive
                   Norfolk, VA 23502


                   Cosco Shipping Lines Co
                   9 6 5 9 N . S a mH o u s t o n P a r k w a y E a s t
                   Suite 750 #240
                   Humble, TX 11396


                   CU Lines
                   C/O Norton Lilly
                   One St Louis Centre Suite 5000
                   Mobile, AL 36602


                   Direct Chasislinks Inc
                   3 5 2 5 W h i t . e h a l - 1P a r k D r S t e 4 0 0
                   Charlotte, NC 28213-4219


                   E m o d a l . C o mL L C
                   270I Business Center Dr Ste 200
                   Irvine, CA 92612


                   l'mnl      nrzmanl-    f \ o - . / e l 4 vOu rn( rm! r e
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                   Bankruptcy Group l4IC 928
                   P OB o x 8 2 6 8 8 0
                   Sacramento, CA 94280
Case 6:23-bk-13805-WJ   Doc 1 Filed 08/24/23 Entered 08/24/23 15:37:58                                                Desc
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                   Employment Development Department
                   Attn Elizabeth Santa Cruz
                   658 E. Brier Drive, Suite 300
                   San Bernardino, CA 92408


                   Employment Development Department
                   I n R e M a r g a r i t a G u z m a nR a m o s
                   658 E. Brier Drive, Sui_te300
                   San Bernardino, CA 92408


                   Erzorrrroon                -Q. l,r, P
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                                                                                                       A       Cnrn
                   602L Kate]f a Ave Suite 200
                   Cvnress-                CA q0630



                   Fl-exi-Van Leasj_ng LLC
                   1320 E. Butherus Dr. Ste 201
                   Scottsdale, AZ 85260


                   Hapag-Lloyd America LLC
                   551 5 Sna I di no fa
                   Peachtree                  Corners,                          GA 30092


                   HMM Inc
                   222 Vlest Las Colinas                                          Blvd                Suite    700
                   Irvinq,   TX 75039


                   Louis Jacobs Esq
                   In Re: Direct Chassislinks Inc
                   1,I693San Vicente B]vd Suite 400
                   Los Angeles, CA 90049


                   Margarita                 GuzmanRamos
                   1 ?1 1 a   t ' - l . r a r rr. , a f . a d e           Ct
                                                    YY]
                   Houston, TX 71044
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                   Margarita Guzman Ramos
                   2150 WAcacia #C5
                   Hemet, CA 92545


                   Mediterranian Shipping Co USA Inc
                   700 Watermark Blvd
                   Mount Pleasant., SC 29464


                   Ma1_ rn          of New York
                                      Crnrrn

                   49 W. Mount Pleasant Ave Box 2317
                   T,i rri nrrcf nn NJ 01939-9998


                   Ocean Network Express NA Inc
                   8730         - s f o n r z P o i n j - P a r l rJ r: V^Yrq rJ r r
                   Richmond, VA 23235


                   One Line North America Inc
                   Metro Group of NewYork
                   49 W. Mount Pl-easant Ave. Box 237I
                   Livingston, NJ 07039-9998


                   Sealand
                   Norton Litly fnternational  fnc
                   One St Louis Centre Suite 5000
                   Mobile, AL 36502


                   Trac Intermodal Chassis
                   750 College Road Bast
                   Princeton, NJ 08540


                   Wan_Hai Lines USA LTD
                   I1200 N Perimeter Dr Suit.e 200
                   Sr:oft.sdale-
                             u u \ l s + v
                                               t
                                                    A7, 85255
                                                    a r 4
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                   Yang Ming America Corp
                   3250 Briarpark Drive Suite 201
                   Houston, TX 11042
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                                                               lJnitetl Sfatesllankrupfcy Court                            I
                                                                   CenfratDistrictof California
                                                                                                                           I
     ln le     4Way Freight Transport Inc
                                                                                                      {j*se Nc.            I
                                                                             i)clrtnri*s}             lihe p:tcr   ?       |


              STATEMENTREGARDING AUTHORITY TO SICN AND FILE
                                                            PETITION
         l, RamiraArellana"
                          declarelnclerpenaltyo1'periurythat t &mtheDirertor/Authorized
                                                                                   Agentofl4wayFreight
   Transpor(
           Inc'andthatthtrl'ollowingis a trueandcorrecfcopyof theresoh-rtions
                                                                           adopteduv-tte gJu.J ;t
   Directorsof saidcorporationat a specialmeeringc1u11'calle<J
                                                           andheldon rhe24 d;;;i ;y;,     ip,L]
        "whereas' it is in thebestinterestof thiscorporation  to file a voluntarypetitionin the UnifedSt*tes
   Bankruptcy
            court pursuant   to chapter7 of Tit.le| 1 oI'theunitedstatescto<Je;                   I
          Be It I'hereforeResolved-thatRamiroArellano.oirector/Authorized
                                                                      Agenrof tlrisCorporation,lis
  anddirected                                                                                         auflhorized
                to execuleanil<Jeliver
                                    all documents necessar)to perfectrhe
                                                                     "-- -'-"'o
                                                                         filing -' ;;;pr;;;;;ifi;;y
                                                                                   " -"-'r        "    .-
  bankruptcy, caseon behalfof'thecorporationr and                               "f
                                                                                                    [
          Be It FurtherRes0lved,thatRamiro Arellano.
                                                   DirectorlAuthorized
                                                                   Agentof this Corporationis luthorizedand
  directedto appearin all banl<ruptcyproceedings on behall'ofthecorporation, andr"               A"[rj,-rt"",
  all actsanddeedsandto execute   ancldeliverail neceruars.,rJocumenrs               "irr"*ir.
                                                                    on behalf                          .innecrion
  with suchbankruptoy   case.and                                               "f;;;;;p;rrrr"r11,-, I
              Be lt FLrrtherResolvecl"that RarniroArellano"Director/Aurhorized
                                                                            Agent                 of this Corporation is duthorized and
 directedto ernployGresory               D.Ansus.attorneyandthe larvfirm of Lawofficeof c*so.y o'.A";;;
                                                                                              u - ' - ' - " s - - ;""rJ;;eJent
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  Date August24,2023                                                                        **; **=---"
                                                               Signed        ...**::',rrr:-                               '
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                                                                       Resolution
                                                                                of BoardoJ'lJirectors
                                                                                    of
                                                                          4WayFreight        Inc
                                                                                     Transport



     Whereas.it is in thebestinterestof this corporation to file a voluntarypetitionin thethe nitedStates
Bankruptcy
         Cclurtpursuant  to Chapterr of Title I I cf'theUnitedStatesCode;

      Be lt ThereforeResolved,that Ramiro
                                        Arellano.               Agentof this Corporalionis authorized
                                               Direntor/Authorized
anddircctedto sxsculeanddeliverall doouments        to perfectthe filing of a ohapterI vo ntary
                                            necessary
bankruptcl'c&seon behalfof t6ecorponation;
                                         and

                                                                   Agent of this Corporationi authorized
       Be lt l'ur-therResolved,that RamiroArellano,DirectoriAuthorized
and directedto appearin all bankruptcyproceedingson behalf'of'thecorporation,and to otherwi do and
peribrrnall actsanddeedsandto execuleanddeliverall necessar,v-
                                                          docunentson behalfof the                                         rationin
cr:nnectionwith suchbanl<ruptcr-
                              case.and

       Be lt FurtherResolved.that RamiroArellano.DirectsrlAuthorized
                                                                 Agentof this Corporationis                               thorizedand
directedto enipk:y GregoryD,Angus.atterneyarrdthe law firm of Lawofficeof GregoryD.Angusto                                resentthe
corpclratior'r
            in such b*nl*rirptcycase.

 Date August24,l0?3                                                               Signed -1f


 Date August24,2023                                                                                                   *
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  tr,nariAddiess,                                                     I FORCOURTUSEONLY
  GregoryD. Angus
  6825Magnolia        Ave..$te 0                |
  Riverside,    CA 92506
  ( S 5 17) 8 1 - 6 5 5F5a x :( 9 5 1 7
                                      ) 81-6Ss0
  CaliforniaStateBar Number:21A322CA
  greg@theangusflrm.com




 {$ nitcoltey
            tsr:4Wa FreightTransportfnc

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  4\{f*y FreighiTransportInc                                                CASENCI
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                                                                            CHAPTSR7
                                                            Debtor(s)



                                                                              CORPORATE
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       Case 6:23-bk-13805-WJ                    Doc 1 Filed 08/24/23 Entered 08/24/23 15:37:58                        Desc
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 [Checkthe appropriateboxes and, if applicable,providathe reguiredinformation.]
 ''!
       | havepersonalknowtedgeof the mattersset forthin this statementbecause:


          ffi t amth* pre$identor olherofficeror an authorized
                                                             agentof the Debtorcorporation
          I   t ama partyto an adversaryproceeding
          fl  tam a partyto a contestednatter
          I      t amtheattorney
                               fortheDebtorcorporation

 a ^
 a o      I      ffrefollowing
                             entities,
                                    otherthantheDebtor or a governmental
                                                                     unit,dlrecfly
                                                                                 or indirectly
                                                                                            own 0% or moreof
                 anyclassof thecorporation's(s')
                                             equityinterests:




          [Foradditional
                      names,attachan addendumto thisform.]
   h
          ffi ttrere are no entitiesthat directlyor indireclly
                                                             own 10%or moreof anyclassof the corpora                  's equity
              interest.



 Date: 0812412A23                                                             By
                                                                                   Signature
                                                                                           of Debtor,or altorneyfor



                                                                                     Printednameof Debtor.or atto     y for Debtor




              Thisfo.mis optional It has hreenapprovedfor us€ tn th" Lln

Bsce*:**r 16]2
                                                                     Page 2             F 1007-4.CORP.0WNE HIP.$TMT
